                                   United States District Court
                                Eastern District of North Carolina
                                        Office of the Clerk
                                         PO Box 25670
                                  Raleigh, North Carolina 27611

 Phone (919) 645-1700                                                                 Peter A. Moore, Jr.
 Fax (919) 645-1750                                                                       Clerk of Court


March 3, 2025

Ms. Nyeshea McKoy
NC Department of Public Safety
Prison Admin. - Fiscal Training & Support
831 W. Morgan Street/MSC 4260
Raleigh, NC 27699-4260



Re:     Trust Fund Account Information for Nathan E. Weddle
        Inmate Number 1583896


Dear Ms. McKoy:

        In accordance with the court's procedure for determining the indigent status of prisoners who
have instituted a civil action in this court, please forward a copy of the above named individual's
prison trust or money account for the six-month period beginning September 3, 2024 through March
3, 2025.

         Thank you for your cooperation with the court in these matters.

                                               Sincerely,

                                               /s/ Peter A. Moore, Jr.
                                               Clerk of Court


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